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                                                                         Filed in
                                                                                    11,S.
                      UNITED STATED BANKRUPTCY COURT                            Atlanta.Bankruptcy Court
                                                                                         Georgia
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION                                  JAN 2 6
                                                                                                   2021
                                                                                      4.   This.    jo, er
                                                                          at.
                                                                                    epu
                                                                                            lerfk

 IN THE MATTER OF:                                  CASE NUMBER 18-55697-LRC

 CASSANDRA JOHNSON- ANDRY                                  CHAPTER 7




               OBJECTION TO ORDER DATED DECE BER 8, 2020
                          (REF 44406000697019)


         Debtor will refer to this Objection to Order per reference number at footer as the
 "ORDER" has no reference number in header (REF 44406000697019) Debtor also
 received this "ORDER on January 24, 2021. Debtor knows delayed mailing was intentional
 as it occurs often. (EXHIBIT A)

        On February 5, 2019,:S. Gregory Hays (the "Trustee"). The Chapter 7 Trustee DID
 NOT file a proposed abandonment of Alliance for Change Through Treatment LLC.
 (EXHIBIT B). This was not a typing error. In fact, THE TRUSTEE abandoned one of
 Debtor's Real Properties and listed an incorrect address as a tactic to illegally assist in the
 removal of Debtor's home at 869 Natchez Valley Trace, Grayson Ga, which has excessive
 mortgage fraud and of course was abandoned by Trustee. Currently, Debtor is temporarily
 displaced and has contracted the Coronavirus from others in Debtor's temporary
 placement Because of GREED Debtor's life is at risk.

         The Trustee 7 Abandonment was submitted on February 1.52.019 NOT February 5,
  2019. AGAIN, this date was NOT an ERROR. Ironically, an Order was granted on
  February 4, 2019, which was a DAY Prior to the Incorrect Date of February 5, 2019 to
  coVer the illegal possession of:

        A. 3554- 3556 Habersham at Northlake Bldg. H, Tucker, Georgia 30084

        The above Commercial Property was thought to have been purchased by Alliance
        for Change Through Treatment LLC.
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         Further derailment utilizing the status of Sole Proprietorship. Apparently, the
 Chapter 7 "Trustee" was unaware of an in-depth investigation and its findings. The above
 commercial properties were sold to his colleagues. It was discovered neither building was
 ever purchased, both were leased, 3554-3556 Habersham at Northlake, Bldg. H was paid
 utilizing agency funds which was transferred by Debtor's previous business partner for the
 purchase of another commercial property and payment of Condo Dues, unbeknownst to
 Debtor, which should have never been paid, based on the buildings never being purchased.
 Building H was illegally given/stolen to Allen, Gregory, and Gordon. Later sold to
 Roundtree, Lietman and Klein and sold to King Group Management and Sukhmani
 Investments. Both Law firms benefitted financially in addition to others. Neil Gordon was
 the assigned Debtor's Trustee. Neil Gordon Esq. voluntarily dismissed himself, as Trustee
 due to KNOWING he was in illegal possession of 3554-3556 Habersham at Northlake Bldg.
 H, Tucker, Ga 30084.

          In addition, there was a second Commercial Property stolen which was also
  abandoned by the Trustee, S. Gregory Hays. Unlike 3554-3556 Habersham at Northlake
  Bldg. II, 3547 Habersham at Northlake Bldg. F. appeared to have been purchased utilizing
  several SBA Loans. Taken out by Debtor's previous business partner, unbeknownst to
  Debtor. Debtor's previous business partner and others appeared to have obtained illegal
  Loans utilizing Debtor's Credit and forgery of Debtor's signature. Money was paid for a
  Lease of 3547 Habersham at Northlake bldg. F. Debtor was illegally evicted from 3547
  Habersham at Northlake, Bldg. F. by Judge Nora Polk from the Dekalb County Magistrate
  Court, Dekalb County Georgia (EXHIBIT C) assigned Attorney was Gregory Taube Esq
  with Nelson Mullins.

         3547 Habersham at Northlake was acknowledged by Phyllis Williams. Dekalb
  Magistrate Judge to have been foreclosed on 4 times within 90 days. Apparently, she was
  not a part of the circle who participated in this illegal act initially. Illegal Condo Dues for
  both buildings were being paid to the Habersham Association of Northlake in the amount
  of 1100.00 per bldg. monthly, which was a factor leading Debtor into Bankruptcy.
  (EXHIBIT D). Debtor also received returned mail for 3547 Habersham at Northlake
  stating the address never existed,

          Unbeknownst to Debtor, recentlu obtained documentation verifying the Debtor's
  previous Business Partner's collaboration with a group of individuals such as Real Estate
  Brokers, Attorneys and others who were paid to assist him with obtaining SEVERAL SBA
  LOANS. Based on uncovered documents these loans were split and individually pocketed.
  Furthermore, Debtor's personal information such as SS Number, Credit Information and
  more were utilized to not only obtain SBA Loans, but Residential loans also. Debtor's
  previous business partner and others appeared to have walked away with undisclosed
  AMOUNTS OF MONEY. Debtor has reported this same information to governmental
  agencies numerous times, but there is continuous interference, Debtor feels by Court
  officials based on their relationships with Creditors such as Lending Institutions.
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         The Chapter 7 Trustee was FULLY aware of this activity but, appeared to have
 been compensated to gain all real properties both Commercial and Personal back into
 unclean hands, for them to avoid Legal Prosecution. It is easier to make excuses to NOT
 investigate Fraud and Abandon Assets incorrectly for the purpose of greed. It is less work
 especially when color defines entitlement

         Also, the listing of potential claims regarding the UNCOVERED modification of a
 Federal Medicaid (DCH) Administrative Hearing transcripts by Debtor. The Hearing,
 which was a setup by others, as a way of ensuring Debtor's Mental Health Agency fail, in
 order to cover ALL illegal activity uncovered by Debtor, involving previous Business
 Partner. Debtor is labeled as the Scape Goat, losing all State and Government Contracts as
 the results of the Trustee NOT wanting to complete his duties such as investigation and the
 filing of Lawsuits, etc, The modification of transcripts causing Debtor's agency to not
 prevail and move forward with a scheduled 30-million-dollar lawsuit, which was under
 Alliance for Change through Treatment LLC. Debtor is aware of the above amount being
 collected in addition to:
     • The money from the sale of both commercial properties referenced above, which
         was a Ponzi Scheme, in which Debtor was the victim. REQUESTED
         INVESTIGATION WAS DENIED.

    The Trustee's approved Abandonment List should ALWAYS reflect the same name
    and spelling of each Abandonment on both the approved Abandonment list and on
    FORM 1 (Individual Estate Property Record and Report Asset Case Report (EXHIBIT
    E). If a company is NOT abandoned correctly on both the Abandonment List and
    FORM 1 such as eliminating the LLC., this refers to a different entity not a LLC or
    corporation, therefore not applicable.

    It benefits all involved in the illegal obtaining of Debtor's Assets via abandonment.
 Money is paid to all involved via the back end which does raise a flag to theft being
 committed by court officials. A statement made to me by the Trustee's Attorney
 (HERBERT B, Esq and SAMANTHA T. Esq from Roundtree Leitman and Klein) after the
 Motion to Lift Stay on February 4, 2019, "This is why you need an Attorney as they
 continued to laugh". Debtor is currently Pro Se and AGAIN, has been black balled
 regarding obtaining attorney. You question why Debtor was Black Balled and could not
 obtain an attorney. It would TOTALLY disrupt the behaviors of those with UNCLEAN
 HANDS from increasing their wealth.

   nuary 26 0   Ls
                      ffkg:A..„
 Cassandra Johnr -La
 678.8603621


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          UNITED STATES BANKRUPTCY COURT NORTHERN
                    DISTRICT OF GEORGIA



                        CERTIFICATE OF SERVICE


1 CASSANDRA JOHNSON-LANDRY, ATTEST TO BEING OVER THE AGE OF 18
YEARS. The current document: OBJECTION TO ORDER IS REQUESTED TO BE
SUBMITTED TO ALL REGISTERED INDIVIDUALS ON Debtor's Bankruptcy Matrix.




  floary 26, 241


Cassandra Jo
678.860.3621




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                              EXHIBIT A
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              IT IS ORDERED asset forth below:




              Date: Dece ber 8, 2020

                                                                           Lisa Ritchey Craig
                                                                      U.S. Bankruptcy Court Judge




                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION

            IN THE MATTER OF:                              CASE NUMBER

            CASSANDRA JOHNSON LANDRY,                       18-55697-LRC


                                                           IN PROCEEDINGS UNDER
                                                           CHAPTER 7 OF THE
                  DEBTOR.                                  BANKRUPTCY CODE

                                                    ORDER

                  On February 5, 2019, S. Gregory Flays (the "Trustee"), the Chapter 7 Trustee filed

            a notice of proposed abandonment of Alliance for Change Through Treatment, LLC

            ("ACY.1- ) (Doc 155) (the ``Noticel.   On November 3, 2020, Debtor filed a Motion for

            Correction (Doc. 321) (the "Motion").     In the Motion, Debtor asserts that the Notice

            proposes to abandon ACTT without noting that it is a limited liability company.

                  The Court finds that the reference to ACTT in the Notice clearly stated that ACTT




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              is a limited liability company rather than a sole proprietorship and, therefore, was sufficient

              to put all parties on notice of the Trustee's intent to abandon the bankruptcy estate's interest

              in ACTT. Therefore,

                     IT IS ORDERED that the Motion is DENIED,

                                                END OF DOCUMENT



              Distribution List

              Cassandra Johnson Lanchy
              P.O. Box 1275
              Grayson, GA 30017

              Herbert C. Broadfoot, II
              Herbert C. Broadfoot IT, PC
              Buckhead Centre - Suite 555
              2964 Peachtree Road, NW
              Atlanta, GA 30305

              S. Gregoty Hays
              Hays Financial Consulting, LLC
              Suite 555
              2964 Peachtree Road
              Atlanta, GA 30305




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                                                      Whitney) 0

                                 157                  Notice Setting Deadline to File Proofs
                                 (1 pg)               of Claim. Service by l3NC Proof of
           02/19/2019                                 Claims due by 5/20/2019. (jlc)

                                 156                  Chapter 7 Trustee's Report of Assets
                                 (1 pg)               and Request to Set Claim Deadline
                                                      Filed by S. Gregory Hays on behalf of
           02/18/2019                                 S. Gregory Hays. (Hays, S.) 0

                                 155                  Trustee's Notice of Abandonment of
                                 (2 pgs)              Property 869 Natchez Valley Trace,
                                                      Grayson, GA 30017; 2969 Sweetbriar
                                                      VValk, Snellville, GA 30039; 1440
                                                      Highland Lake Drive, Lawrenceville,
                                                      GA 30045; 2001 Mercedes 500CL;
                                                      Pistol and ammunition; Dog, Shih-Tzu;
                                                      Alliance for Change Through
                                                      TE6a—t-M-Efit, L,LC; Attachment; and
                                                      Bonding Center of Atlanta;
                                                      Therapeutic Essentials Inc.; Lkensed
                                                      Professional Counselor Filed by S.
                                                      Gregory Hays on behalf of S. Gregory
           02/15/2019                                 Hays. (Hays, S.) 0

                                 154                  Notice of Conversion from Chapter 7
                                 (3 pgs)              to Chapter 13 filed by Cassandra
           02/14/2019                                 Johnson Landry . (aam) 0

                                 153                  Objection of Chapter 7 Trustee to
                                 (4 pgs)              Exemptions filed by Herbert C.
                                                      Broad foot II On behalf of S. Gregory
                                                      Hays. (related document(s)1)
           02/12/2019                                 (Broadfoot, Herbert) 0

                                 152                  Notice Rescheduling Hearing Filed by
                                 (3 pgs)              Brian K. Jordan on behalf of Deutsche
                                                      Bank National Trust Company.
                                                      Hearing to be held on 2/28/2019 at
                                                      10:00 AM in Courtroom 1204, Atlanta,
           02/12/2019                                 (related document(s)38)(jordan,


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                              EXHIBIT C
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        Case 1:18-cv-05424-CC-RGV Document 2-4 Piled 12/05/18 Page 1 of 2




                       IN THE MAGISTRATE COURT OF DEI(ALB COUNTY

                                     STATE OF GEORGIA



     READYCAP LENDING)
    Plaintiff,

                  Y.                                     18D46674A

    ALLIANCE FOR CHANGE

    THROUGH TREATMENT, LLC,
    Defendants.

                                           PIPER


          The above-referenced matter came before the Court on Defendant's Writ of
    Supersedeas dated August 3, 2018, Defendant's Writ of Prohibition dated October
    22, 2018, Defendant's Notice of Appeal to State Court dated October 29, 2018, and
    Defendant's Notice of her Superior Court Wrongful Foreclosure Complaint dated
    October 29,2018
            Defendant's Writ of Supersedeas is dismissed. The remedy for appeal of the
     Final Order in the case was to file Notice of Appeal within seven days of the date
     of the order. Said order was signed July 30, 2018.
           Defendant's Writ of Prohibition is dismissed. The Defendant argued the
    issue of subject matter jurisdiction and transfer in the Writ of Prohibition. The case
    is closed in Magistrate Court Thus, those arguments are rendered moot
    Furthermore, the Defendant has filed an action in Superior Court to address her
    claims of the real property.
              The Defendant removed the ease to Federal Court, However, the case was
     rerriaTiiied back to Miiistrati Couit on September 6
                                                        . ,-2018. The Writ of Possession
     was later signed on October 22, 2018, after both parties had notice and opportunity
     to be heard before the court again on October22, 2018, at 1 pm in Courtroom 1200
     C.
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        Case :18-cV-05424-CC-RGV Document 2-4 Filed 12/05/18 Page 2 of 2




            Even if the Court considers Defendant's Notice of Appeal timely filed, the
     Defendant has failed to comply with the Final Order requiring payment of the
     judgment into the Court Registry and monthly rent thereafter. The Defendant has
     failed to tender payments in any amount,
           After review of the Defendant's pending Superior Court Complaint, the
     Court finds no Lis Pendins, restraining orders, or other reasons as to why the Writ.
     of Possession should not be executed, Thus, the Marshal is directed to execute the
     Writ of Possession in the above-referenced case.


           SO ORDERED this , 110     day of.A4E)- 6.0,tly,T. 20    1g


                                      Nora P k, JUDGE
                                      MAGI RATE COURT OF DEKALB COUNTY
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                      IN THE MAGISTRATE COURT OF DEKALBI COUNTY

                                         STATE OF GEORGIA



READYCAP LENDING,

Plaintiff,                                                        C.A.F.N.

                V.                                                18D46674A

ALLIANCE FOR CHANGE

THROLTGH TREATMENT, TIC,

Defendants.

                                                  ORDER

         The above-styled matter came before the Court on Plaintiffs Reque,st to Proceed with Writ of
Possession chtted De'cember 12, 2018, and Defendant's Response dated becember 14, 2018 After review
of said Request. Response, and the case file, it is hereby:

         [ X1    DENIED. After the issuance of this Court's November 16, 201 8 Order, the Plaintiff
removed a companion case between the parties to Federal Court (See Cassandra Landry-Johnson v.
Ready Cap Lending,                     180110510) on November 28, 2018. As such, any action by this
Court involving the subject matter of that case is stayed until the case is re,manded back from Federal
Court.




         SO ORDERED this                day ol




                                          Nora olk., JUDOE.
                                          MAO ST ATE COURT OF DEKAf...B COUNTY
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                              EXHIBIT D
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                          EXHIBIT E
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                                       UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF GEORGIA
                                               ATLANTA DIVISION
            IN RE:                                                      CHAPTER 7

           CASSANDRA JO NSON LANDRY,                                    CASE NO. I 8-55697-LRC

                      Debtor.


                                       NOTICE OF ABANDONMENT OF CERTAIN
                                            PROPERTY OF THE ESTATE

                      PLEASE TAKE NOTICE that pursuant to Ii U.S.C. § 554(a) and Federal Rule of

            Bankruptcy Procedure 6007, S. Gregory Hays, Chapter 7 l'rustee ("Trustee") for the above-

           captioned estate proposes to abandon the following described property as burdensome, fully

            exempt with no equity, fully encumbered and/or of inconsequential value and benefit to Debtor's

            estate:

                            869 Natchez Valley Trace, Grayson, GA 30017
                            2969 Sweetbriar Walk, Snellville, GA 30039
                                1440 Highland Lake Drive, Lawrenceville, GA 30045
                            2001 Mercedes 500CL
                                Pistol and ammunition
                            Dog, Shih-Tzu
                            Alliance for Change Through Treatment, LLC
                            Attachment and Bonding Center of Atlanta
                            Therapeutic Essentials Inc.
                                Licensed Professional Counselor


                      PLEASE TAKE FURTHER NOTICE that any objections to this proposed

            abandonment must be filed with the Clerk of the United States Bankruptcy Court, 1340 U.S.

            Courthouse, 75 Ted Turner Drive, SW, Atlanta, GA 30303 and served upon the 1 rustee at the




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            address shown below within fourteen (14) days from the date of service of this Notice. If no

            objection is filed, the proposed abandonment shall be effective as provided in Federal Rule of

            Bankruptcy Procedure 6007 without further notice, hearing or order of the Court. If an objection

            is timely filed, a hearing thereon will be scheduled with notice provided to the objecting party or

            parties, the Trustee, the U.S. Trustee, and the Debtor.

                   This 15th day of February, 2019.

                                                                      /s
                                                                  S. Gregory Hays
            Hays Financial Consulting, LI.,C                      Chapter 7 Trustee
            2964 Peachtree Road, NW, Ste 555
            Atlanta, GA 30305
            (404) 926-0060




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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

  IN RE:                                                      CHAPTER 7

  CASSANDRA JOHNSON LANDRY                                    CASE NO. 18-55697-1,RC

                 Debtor.

                           NOTICE OF ABANDONMENT 01? CERTAIN
                                PROPERTY OF THE ESTATE

         PLEASE TAKE NOTICE that pursuant to 11 U.S.C, § 554(a) and Federal Rule of
  Bankruptcy Procedure 6007, S. Gregory Hays, Chapter 7 Trustee ("Trustee") for the above-
  captioned estate, proposes to abandon the following described property as burdensome, fully
  exempt with no equity, and/or of inconsequential value and benefit to Debtor's estate:

                  Any and all claims, scheduled or unscheduled, referred to by Debtor in the
                  attached "Motion For Request For Trustee Report" including without
                  limitation personal injury claims   --

                  Any claim for damages arising from prepetition conduct by Defendants
                  named in Adversary Proceeding No, 19-05218

          PLEASE TAKE *FURTHER NOTICE that any objections to this proposed
  abandonment must be filed with the Clerk of the United States Bankruptcy Court, 1340 U.S.
  Courthouse, 75 Ted Turner Drive, SW, Atlanta, GA 30303 and served upon the Trustee at the
  address shown below within fourteen (14) days from the date of service of this Notice. If no
  objection is filed, the proposed abandonment shall be effective as provided in Federal Rule of
  Bankruptcy Procedure 6007 without further notice, hearing or order of the Court, If an objection
  is timely filed, a hearing thereon will be scheduled with notice provided to the objecting party or
  parties, the Trustee, the U.S. Trustee, and counsel to the Debtor.

           This 5th day of December, 2019.


                                                        is/ S. Gregory Hays
                                                       S. Gregory Hays
                                                       Chapter 7 Trustee

  Hays Financial Consulting, LLC
  2964 Peachtree Road, NW
  Suite 555
  Atlanta, GA 30305
  (404) 926-0060
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                                                                     Form
                                                 Individual Estate Property Record and Report                                                                            Page: 1
                                                                  Asset Cases
    Case No.: 18-55597-LRC                                                                            Trustee Barnet (300320) S. Gregory Hays
    Case Name: LANDRY, CASSANDRA JOHNSON                                                              Date Filed (f) or Converted (c): 0911412018(c)
                                                                                                      §341(a) Meeting Date: 11/27/2018
    For wind Ending: 12/04/2019                                                                       Claims Bar Date: 05/20/2019
                                             1                              2                         3                        4

                                  Asset Description                      Prattiord            Fatinatsd Hat Yalta      PropertY FOrtlatly         Sala/rands             Asset *lily
                       (5theduied And Unecheduled (ul Property)         Unscheduled          (Value 0elannined fly        Abandoned             teeceleed by the      AchnInistened (Fay
                                                                          Values                    Trustee,              0A15.5401                  Estata             Gm.* Value of '
                                                                                            Less Una, Eteutpdatia,         abandon.                                   Retraining Assets,
        Rat if                                                                          •      and Other Costs)

          1        2969 Sweetbrier Walk, SnellvIlle, GA                    89,750.00                          13.00           OA                            0,00                           FA
                   30039, Gwinnett County
                   otie-hor Wismar. Entire OroPeltY Yalta: S178.500.
                   Abandoned per Nedra. Dooled * 155.

                   1440 Highland Lake Dr, Lawrenceville,                  158,750.00                          0.00            OA                             0.00                          FA
                   GA 30045, GwInnett County
                   One-halt interest Entire ProPerty Whiff; $312,600.
                   olDeliCkttled ;Mt 14011Ca. 00.*At i 155

                   669 Natchez Valley Trace, Grayson. GA                  222,300,00                           0.00           OA                             0.00                          FA
                   30017. GwInnett County
                   ofw41ax edema, Entire PeePortY value: 2444.600.
                   Abandoned per *deo, Docket* 155
    _
           4       2001 Merce 500CL                                         20,000.00                       627.83            OA                             0.00                          FA
                   Abmwonci pornorlao, Docket* 155.
                                                                                                                                                                                            _
                    Major Appliances, furniture, linens chIna,               8,500,00                     7,500.00                                           0.00                 8,500.00
                    and kithernsrate
     ---
           6        radios, Computer, pnnlera cellphone,                     3.500.00                     3,200.00                                           0.00                 3,500.00
                    media player
                    Artwork                                                     5,000.,00                 4.860.00                                           0.00                 500000
                                                                                                                                                                                   ,
                    Pistol and ammunition                                        450.00                      460.00            OA                             0.00                         FA
                    Abandanod par Hottiv, 0oatet C155

                    Everyday clothes, Am leather coats,                     1000000                        9,500.00                                           0.00               10,000.00
                    designer wear, shoes, and accessories
           10       Everyday Jewelry, costume jewelry,                       15,000.00                    14,900.00                                           0,00               1500000
                    engagement ring, wedding ring.
           11       Dog Shih•Tzu                                                1,000.00                   1,000.00            OA                             0.00                         ' FA
                    Abandoned per Notts. ODOM it 165.

           .12      Cash                                                          150.00                        0.00                                          0.00                          FA

              13    Checking account Publix Credit Union                          200.00                        0.00                                          000                           PA

           14       Savings account: Publix Credit Union                          200.00                        0.00                                          0.00                          FA

              15    Manor. For Change Through Treatment,                    500,000.00                          0.00            OA                            0,00                          FA
                    85% ownership                                                                                                           '
i                   Abwebeed per Nedra, Docital 4155.
              le    Attachment and Bonding Ctr of Atlanta,                  100,000.00                          0.00            OA                             0.00                         FA
                    95% ownership
                     Abandoned per Nadas, Docket CISC.

     .        IT     Therapeutic Essentials. 0% ownership                    25,040.00                          0.00               OA                          0.00                         FA
                     Abandoned per Retire, Dodcat # 155.

              18     licensed Professional Counselor                              150.00                         0.00,             OA                          0.00                         FA
                     Abandoned per Naos, Docket C165.
              19     2016 Stale Of Georgia already riled: State                   761500                      769.00                                           0.00                         FA
